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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


H.J. HEINZ COMPANY,                              §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §   CIVIL ACTION NO. 3:14-cv-00843-B
                                                 §
FIGUEROA BROTHERS, INC.,                         §
                                                 §
               Defendants.                       §


                AGREED MOTION FOR ENTRY OF FINAL JUDGMENT

       Plaintiff H.J. Heinz Company (“Plaintiff”) and Defendant Figueroa Brothers, Inc.

(“Defendant”) have now finalized settlement of this action, and pursuant thereto, the parties

request that the Court enter the attached Final Judgment in this case.


                               CERTIFICATE OF CONFERENCE

       Prior to filing this motion, counsel for Plaintiff conferred by email with counsel for

Defendant concerning their position on this motion. Said Defendant does not oppose this

motion. Both parties have signed, agreed, and stipulated to the Final Judgment attached as

Exhibit A.



DATED: April 10, 2014                            Respectfully submitted,


                                                 By: /s/ Jered E. Matthysse ________________
                                                    Louis T. Pirkey
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                                                    Texas Bar No. 16033000
                                                    Jered E. Matthysse
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